         Case 3:22-cv-02785-CRB Document 41 Filed 06/07/22 Page 1 of 3




 1 INSTITUTE FOR FREE SPEECH
   Alan Gura (SBN 178,221)
 2   agura@ifs.org
   1150 Connecticut Avenue, N.W.,
 3 Suite 801
   Washington, DC 20036
 4 Phone: 202.301.3300

 5
   Nicholas Sanders (SBN 307,402)
 6  nsanders@campaignlawyers.com
   James R. Sutton (SBN 135,930)
 7  jsutton@campaignlawyers.com
   THE SUTTON LAW FIRM
 8 150 Post St. Ste. 405
   San Francisco, CA 94108
 9 Phone: 415.732.7700

10
     Attorneys for Plaintiffs San Franciscans Supporting Prop B, Edwin M.
11 Lee Asian Pacific Democratic Club PAC Sponsored by Neighbors for a
     Better San Francisco Advocacy, and Todd David
12

13
                           UNITED STATES DISTRICT COURT
14
              FOR THE NORTHERN DISTRICT OF CALIFORNIA
15

16
     SAN FRANCISCANS SUPPORTING              ) Case No: 3:22-cv-02785 CRB
17 PROP B, et al.,                           )
                                             ) STIPULATION
18                         Plaintiffs,       ) AND ORDER
                                             )
19                    v.                     )
                                             )
20   DAVID CHIU, in his official capacity as ) The Hon. Charles R. Breyer
     City Attorney of San Francisco, et al.  )
21                                           )
                           Defendants.       )
22   ________________________________ ______ )
23
       Pursuant to Local Rule 7-12, the parties, by and through their
24
     respective attorneys, stipulate and agree as follows:
25
       WHEREAS, on June 1, 2022, the Court denied Plaintiffs’ motion for a
26
     temporary restraining order and preliminary injunction;
27

28 Stipulation and Order                   1             Case No. 3:22-cv-02785 CRB
         Case 3:22-cv-02785-CRB Document 41 Filed 06/07/22 Page 2 of 3




 1     WHEREAS, on June 3, 2022, Plaintiffs noticed an interlocutory appeal
 2 from that order;

 3     WHEREAS, Defendants would respond to the Complaint by filing a
 4 motion to dismiss for failure to state a claim;

 5     WHEREAS, “[t]he filing of a notice of appeal is an event of
 6 jurisdictional significance—it confers jurisdiction on the court of appeals

 7 and divests the district court of its control over those aspects of the case

 8 involved in the appeal,” Griggs v. Provident Consumer Disc. Co., 459 U.S.

 9 56, 58 (1982);

10     WHEREAS, “the power to stay proceedings is incidental to the power
11 inherent in every court to control the disposition of the causes on its

12 docket with economy of time and effort for itself, for counsel, and for

13 litigants,” Landis v. North American Co., 299 U.S. 248, 254 (1936); and

14     WHEREAS, a stay of the proceedings in this Court pending appeal
15 would cause no injury; the parties would be prejudiced by needlessly

16 proceeding in both courts simultaneously; and the orderly course of justice

17 supports the issuance of a stay, Lockyer v. Mirant Corp., 398 F.3d 1098,

18 1110 (9th Cir. 2005),

19     THEREFORE, the parties hereby stipulate and agree that all further
20 proceedings and deadlines in this case be stayed pending the issuance of

21 the Ninth Circuit’s mandate in Plaintiffs’ interlocutory appeal, and that

22 Defendants shall have until 30 days from the mandate’s filing in this

23 Court to respond to Plaintiffs’ complaint.

24

25

26

27

28 Stipulation and Order                   2             Case No. 3:22-cv-02785 CRB
         Case 3:22-cv-02785-CRB Document 41 Filed 06/07/22 Page 3 of 3




 1     Dated: June 7, 2022             Alan Gura
 2                                     Alan Gura
                                       Institute for Free Speech
 3                                     Counsel for Plaintiffs
 4
       Dated: June 7, 2022             Tara M. Steeley
 5
                                       Tara M. Steeley
 6                                     Deputy City Attorney
 7
                                       Counsel for Defendants

 8     PURSUANT TO STIPULATION, IT IS SO ORDERED.
 9
       Dated: June ___, 2022           ____________________________
10                                     The Hon. Charles R. Breyer
11                                     United States District Judge
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28 Stipulation and Order                   3             Case No. 3:22-cv-02785 CRB
